                      IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF KANSAS

In re:                                )
                                      )
CARL DAVID RAY and                    )      Case No. 16-10807
DONNA B. RAY,                         )      Chapter 7
                                      )
                       Debtors.       )


                 NOTICE OF INTENDED COMPROMISE AND SETTLEMENT
                    OBJECTION DEADLINE: NOVEMBER 28, 2018 AND
              HEARING ON ANY OBJECTIONS: DECEMBER 13.2018 AT 9:00A.M.

         1.     Notice is hereby given by the Trustee of her intended compromise and settlement

of all claims described in Adversary Proceeding No. 18-05046, Darcy D. Williamson, Chapter 7

Trustee v. Bank ofAmerica, N.A., et al. (the "Adversary").

         2.     Attached hereto is a proposed Settlement Agreement and Release (the

"Settlement") between the Trustee and Bank of America, N.A. ("Bank of America").           The

Trustee desires to resolve the claims on the terms described in the Settlement.

         3.     The Adversary was initiated by the Trustee against defendants The Board of

County Commissioners of the County of Butler, Kansas ("Butler County"); Carl David Ray and

Donna B. Ray (collectively, the "Debtors") and Bank of America. Each of the defendants filed

an answer to the Trustee's complaint. However, upon approval of the Settlement, the Trustee

will not seek recovery in the Adversary against Butler County or the Debtors and the Adversary

shall thereupon be dismissed.

         4.     Compromises are favored in bankruptcy.           In re Southern Medical Arts

Companies, Inc., 343 B.R. 250, 255 (1Oth Cir. BAP 2006).

         5.     The Bankruptcy Court's decision to approve a settlement must be an informed

one based on an objective evaluation of developed facts. Reiss v. Hagmann, 881 F.2d 890 (lOth

Cir. 1989).



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         6.       In evaluating this compromise, the Trustee has considered, as the Court will

consider: (1) the chance of success on the litigation on the merits; (2) possible problems in

collecting the judgment; (3) the expense and complexity of the litigation; and (4) the interest of

the creditors. Southern Medical Arts, 343 B.R. at 256. See also In re Kopexa Realty Venture

Co., 213 B.R. 1020, 1022 (lOth Cir. BAP 1997).

         7.       Settlement allows the Trustee and creditors to avoid the burden, expense and

uncertainty involved with litigation. See Southern Medical Arts, 343 B.R. at 255.

         8.       The decision of whether to approve a settlement is within the sound discretion of

the Bankruptcy Court. In re Flight Transportation Corp. Securities Litigation, 730 F.2d 1128,

1136 (8th Cir. 1984); In re Revelle, 259 B.R. 905 (Bankr. W.D. Mo. 2001). However, the

Trustee's judgment in recommending a settlement should not be substituted as long as the

settlement is reasonable. In re Apex Oil Co., 92 B.R. 847, 867 (Bankr. E.D. Mo. 1988). See also

In re Texas Extrusion Corp., 836 F.2d 217 (5th Cir. 1988).

         9.       The standard for approving a proposed compromise is whether it is "fair and

equitable" and in the best interest of the estate. In re Apex Oil Co., 92 B.R. at 866.

         10.      The Trustee asserts that the Settlement should be approved because it is fair and

equitable and in the best interest of the bankruptcy estate. The Settlement results in significant

funds to the estate available for timely distribution to creditors. Approval of the settlement

allows the estate to avoid the burdens-including expense, uncertainty and delay-associated

with continued litigation of the Adversary.

         11.      If approved, the Settlement will result in a payment of $78,834.25 to the

bankruptcy estate.        From these funds, the Trustee hereby requests final approval of and

authorization to pay the following:




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               a. Costs and Expenses Incurred by Special Counsel                     $858.42 1
               b. Compensation to Special Counsel                                    $25,991.94 2

The balance will be held by the estate for further distribution. The Trustee shall be allowed

compensation subject to further application.

         12.      Objections to the intended settlement should be made in writing to the Clerk of

the United States Bankruptcy Court, 401 N. Market, Room 167, Wichita, Kansas 67202 on or

before November 28, 2018.               Copies of any objections must be served upon Darcy D.

Williamson, Trustee at 510 SW lOth Ave., Topeka, Kansas 66612 and Eric W. Lomas of

Klenda Austerman LLC at 301 N. Main St., Ste. 1600, Wichita, Kansas 67202. If no objections

are made to the Settlement and other relief requested herein, the Court may enter an order

authorizing the same without further notice. A hearing will not be held unless an objection is

timely filed. If an objection is timely filed, a hearing will be held before the United States

Bankruptcy Court, 401 N. Market, Room 150, Wichita, Kansas beginning at 9:00 a.m. on

December 13,2018.

         Dated: November 7, 2018.

                                                      RESPECTFULLY SUBMITTED:

                                                      KLENDA AUSTERMAN LLC

                                                       s/ Eric W. Lomas
                                                      Eric W. Lomas, #23769
                                                      301 North Main, Suite 1600
                                                      Wichita, Kansas 67202
                                                      (316) 267-0331
                                                      (316) 267-0333 (fax)
                                                      elomas@klendalaw.com
                                                      Attorneys for Trustee


1
  Costs and Expenses: $189.22 for postage; $247 for copies; $17.20 for PACER charges; $39 for documents from
Butler County District Court; $16 for documents from Butler County Register of Deeds; and $350 for the Adversary
filing fee.
2
  Per Doc. #39 & Doc. #42: [$78,834.25 (gross recovery)- $858.42 (costs and expenses)] I 3 = $25,991.94



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                                        CERTIFICATE OF SERVICE

        THIS IS TO CERTIFY that on November 7, 2018, a true and correct copy of the above Notice of
Intended Compromise and Settlement was filed electronically with the Clerk of the U.S. Bankruptcy
Court using CMIECF and was mailed, postage prepaid and properly addressed to those listed on the
matrix attached hereto and to the following:

Jennifer M. Walker                                            U.S. Trustee
Bryan Cave Leighton Paisner, LLP                              Office of the United States Trustee
One Metropolitan Square                                       301 North Main Suite 1150
211 N. Broadway, Suite 3600                                   Wichita, KS 67202-4811
St. Louis, MO 63102
                                                               Property Valuation Director
Keyta D. Kelly                                                 State Office Building
Kelly Law Office, L.L.P.                                       Topeka, KS 66612
512 E. 4th St.
Tonganoxie, KS 66086                                           Kansas Department of Labor
                                                               Attn: Legal Services
Mark J. Lazzo                                                  401 SW Topeka Blvd.
Landmark Office Park                                           Topeka, KS 66603-3182
3500 N. Rock Rd.
Building 300                                                   Internal Revenue Service
Suite B                                                        POBox 7346
Wichita, KS 67226-1341                                         Philadelphia, PA 19101-7346

Office of the U.S. Attorney                                    Kansas Dept. of Revenue
1200 Epic Center                                               Civil Tax Enforcement
301 N. Main                                                    POBox 12005
Wichita, KS 67202                                              Topeka, KS 66612

Internal Revenue Service                                       Butler County Treasurer
Mail Stop 5334                                                 205 W. Central Ave.
Advisory/Insolvency                                            ElDorado, KS 67042-2106
2850 NE Independence Ave.
Lee's Summit, MO 64664                                         Sedgwick County Treasurer
                                                               525 N. Main St.
Mr. John Sparks                                                Wichita, KS 67203-3734
Chief Special Procedures Branch
Internal Revenue Service                                       Carl David Ray
Robert A. Young Building                                       329 N. Lancaster Dr.
1222 Spruce Street                                             Wichita, KS 67230-7806
St. Louis, MO 63103
Mail Stop 5020 STL                                             Donna B. Ray
                                                               329 N. Lancaster Dr.
                                                               Wichita, KS 67230-7806

                                                      s/ Teresa M. Yoder
                                                      Teresa M. Yoder
2650587




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                SETTLEMENT AGREEMENT AND RELEASE

         This Settlement Agreement and Release ("Agreemenf) is made and entered into as of the date all
signatories below have executed the agreement (the "Effective Date") by and between Darcy D. Williamson, Chapter
7 Trustee of the Bankruptcy Estate of Carl David Ray and Donna B. Ray of Case No. 16-10807-7 and Plaintiff in
Adversary Proceeding No. 18-5046("Trustee• or "Plaintiff") and Defendant Bank of America, N.A. ("BANA" or
"Defendant"). Plaintiff and Defendant are collectively referred to as the "Parties," and each may be referred to
individually as a "Party."

                                                      RECITALS

         This Agreement is entered into with reference to the following facts and recitals, which are true to the best of
the Parties' knowledge and belief, and are made part of this Agreement:

         WHEREAS, Carl David Ray and Donna B. Ray ("Borrowers" or "Debtors") are the former owners of real
property located at 1401 Basswood Dr., Andover, KS (the "Property");

        WHEREAS, on or about January 11, 2008, Borrowers executed a promissory note in the amount of
$121,600.00 in favor of Bank of America, N.A., (the "Note");

        WHEREAS, in connection with the Note, on or about January 11, 2008, Borrowers executed and delivered a
Mortgage (the "Security Instrument") related to the Property;

         WHEREAS, the Note and Security Instrument are in relation to a mortgage loan secured by the Property
(the "Loan");

         WHEREAS, BANA is the former servicer of the Loan;

        WHEREAS, on or about May 6, 2016, Borrowers filed for Chapter 7 Bankruptcy, Case No. 16-10807 (the
"Bankruptcy"), where they received a discharge on or about August 9, 2016.

         WHEREAS, the Property was an asset of the Debtors' bankruptcy estate and was not abandoned by the
Trustee in the Bankruptcy;

        WHEREAS, on or about January 6, 2017, BANA received a payment from the Borrowers on the Loan in the
amount of $88,834.25;

        WHEREAS, said payment was the proceeds from sale of the Property in a tax sale held by the Board of
County Commissioners of the County of BuHer, Kansas on or about August 26, 2016;

        WHEREAS, on or about April 20, 2018, BANA recorded a Release of Mortgage in the Butler County
Recorder of Deeds Office;

         WHEREAS, on or about May 4, 2018, Plaintiff filed an adversary proceeding in the Bankruptcy, captioned
Darcy D. Williamson, Chapter 7 Trustee, Plaintiff, vs. Bank of America, N.A., eta/., In The United States Bankruptcy
Court For The District Of Kansas, Adversary No. 18-05046, which, along with any amendments, counterclaims,
cross-claims, third-party claims, interventions, removals and appeals, shall be referred to as the "litigation"; and




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          WHEREAS, the Parties agree that it is in their mutual interests to avoid the uncertainty and expense of the
Litigation by reaching a setUement and accommodation of the certain matters encompassed herein, without any
admission of law or fact;

         NOW, THEREFORE, in consideration of the mutual covenants contained herein and for other good and
valuable consideration, the receipt and sufficiency of which is hereby acknowledged, the Parties covenant and agree
as follows:

                                             TERMS AND RELEASES

1.       SETTLEMENT PROVISIONS

         A. Agreement Execution and Approval. This Agreement is subject to approval of the United States
            Bankruptcy Court for the District of Kansas (the "Bankruptcy Court"). To obtain such approval, the
            Trustee may file a copy of this Agreement with the Bankruptcy Court and serve it on all necessary
            parties. Upon execution of this Agreement, the Trustee will prepare and file all appropriate documents
            needed to obtain approval of the Bankruptcy Court. The Trustee shall execute two original counterparts
            of this Agreement, and the Trustee shall deliver one original counterpart and completed W-9 tax forms
            for the Debtofs Bankruptcy Estate to SANA's Counsel as identified below. BANA shall execute and
            deliver to the Trustee's Counsel one original counterpart of this Agreement.

         B. Payment by BANA. BANA shall deliver to the Trustee's Counsel the sum of Seventy-Eight Thousand
            Eight Hundred Thirty-Four Dollars and Twenty-Five Cents ($78,834.25) (the "Paymenr) by check made
            payable to "Darcy D. Williamson, Chapter 7 Trustee" within 21 business days of the latter of the
            following events: (a) receipt by SANA's Counsel of one original counterpart of this Agreement executed
            by the Trustee as set forth in Paragraph 1.A of this Agreement; (b) receipt by BANA's Counsel of
            completed W-9 tax fonns for the Debtofs Bankruptcy Estate as set forth in Paragraph 1.A of this
            Agreement; (c) entry of the Bankruptcy Court's order approving this Agreement.

         C. BANA's Unsecured Bankruptcy Claim. BANA shall be allowed an unsecured claim in the Bankruptcy
            in the amount of Seventy-Eight Thousand Eight Hundred Thirty-Four Dollars and Twenty-Five Cents
            ($78,834.25), related to the Loan associated with the Property.

         D. Full Satisfaction. The Payment is in full satisfaction of the Released Matters (as defined herein), and
            it includes all attorneys' fees and costs that the Trustee may have incurred in connection with the
            Litigation.

        E. Release. For consideration of the Payment, the receipt and sufficiency of which are hereby expressly
             acknowledged, the Trustee, for itself and each of its present, fonner, and future heirs, executors,
             administrators, partners, co-obligors, co-guarantors, guarantors, sureties, family members, spouses,
             attorneys, insurers, agents, representatives, predecessors, successors, assigns, and all those who
             claim through it or could claim through it (collectively, "Releasers") unconditionally and irrevocably
             remise, waive, satisfy, release, acquit, and forever discharge BANA and each of its present, fonner, and
             future parents, predecessors, successors, assigns, assignees, affiliates, conservators, divisions,
             departments, subdivisions, owners, partners, principals, trustees, creditors, shareholders, joint
             ventures, co-venturers, officers, and directors (whether acting in such capacity or individually),
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            attorneys, vendors, accountants, nominees, agents (alleged, apparent, or actual), representatives,
            employees, managers, administrators, and each person or entity acting or purporting to act for BANA or
            on BANA's behalf, as well as any past, present, or future person or any entity that held or holds any
            interest in the Loan and the undertying Note or Security Instrument, including, but not limited to, Bank of
            America Corporation and all of its subsidiaries and affiliates (collectively, •Releasees•), and each of
            them, respectively, from and against any and all past and present up to the Effective Date of this
            Agreement claims, counterclaims, actions, suits, rights, causes of action, lawsuits, set-offs, costs,
            losses, controversies, agreements, promises and demands, or liabilities, of whatever kind or character,
            direct or indirect, whether known or unknown or capable of being known, arising at law or in equity, by
            right of action or otherwise, including, but not limited to, suits, debts, accounts, bills, damages,
            judgments, executions, warranties, attorney's fees, costs of litigation, expenses, claims, and demands
            whatsoever that the Releasors or their attorneys, agents, representatives, predecessors, successors,
            and assigns have or may have against the Releasees, for, upon, or by reason of any matter, cause, or
            thing, whatsoever, in law or equity, including, without limitation, the claims made or which could have
            been made by the Trustee arising from the origination or servicing of the Loan as well as in any way
            related to the Property, Note, or Security Instrument, any servicing act or omission thereon as well as
            any claim or issue which was or could have been brought in the Litigation (collectively, the "Released
             Matters").

        R. Non-Disparagement Releasors will not, directly or indirectly, make any negative or disparaging
           statements against the Releasees maligning, ridiculing, defaming, or otherwise speaking ill of the
           Releasees, and their business affairs, practices or policies, standards, or reputation (including but not
           limited to statements or postings harmful to the Releasees' business interests, reputation or good will)
           in any form (including but not limited to orally, in writing, on any social media, blogs, internet, to the
           media, persons and entities engaged in radio, television or Internet broadcasting, or to persons and
           entities that gather or report information on trade and business practices or reliability) that relate to this
           Agreement, Information (as defined above) and the factual allegations made in the Litigation or any
           matter covered by the release within this Agreement.

2.      ADDITIONAL TERMS

        A. Adequate Consideration. The consideration received in connection with this Agreement is fair,
           adequate, and substantial, and it consists only of the terms set forth in this Agreement.

        B. Covenant Not to Sue. The Trustee agrees not to cause claims to be made in any court or other forum
           against the Releasees for any matter within the scope of the releases contained herein.

        C. Further Assurances. Each Party agrees to take all reasonable steps necessary to effectuate the
           terms of this Agreement.

        D. No Admission of Liability. Each of the Parties understands and agrees that this Agreement and the
           settlement provided for herein, are intended to compromise disputed claims and defenses, to avoid
           litigation and to buy peace, and that this Agreement and the settlement provided for herein shall not be
           construed or viewed as an admission by any Party of liability or wrongdoing, such liability being
           expressly denied. This Agreement, and the settlement provided for herein, shall not be admissible in

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             any lawsuit, administrative action, or any judicial or administrative proceeding if offered to show,
             demonstrate, evidence or support a contention that any of the Parties acted illegally, improperly, or in
             breach of law, contract, or proper conduct.

       E. Waiver. The failure of the Trustee to demand from BANA performance of any act under the Agreement
          shall not be construed as a waiver of the Trustee's right to demand, at any subsequent time, such
          performance. The failure of BANA to demand from the Trustee performance of any act under the
          Agreement shall not be construed as a waiver of BANA's right to demand, at any subsequent time,
          such performance.

        F. Tax Consequences. The Trustee agrees that if it is later determined by the Internal Revenue Service
           or any other taxing body that taxes of any type should have been paid in connection with any benefit
           they receive pursuant to this Agreement, they will be solely responsible for paying such taxes. BANA
           make no representations or warranties regarding the legal effect or tax consequences of this
           Agreement, or of any such filing or reporting by BANA. The Trustee further expressly acknowledges
           that they neither received nor relied upon any tax advice from BANA or its representatives and
           attorneys.

        G. Choice of Law. This Agreement shall be construed in accordance with and all disputes hereunder
           shall be controlled by the laws of the State of Kansas without regard to its choice of law rules.

        H. Parties' Counsel. As used in this Agreement, the phrase "Trustee's Counsel" means Eric W. Lomas,
           Esq., KLENDA AUSTERMAN, 1600 Epic Center, 301 N. Main Street, Wichita, KS 67202, and any and
           all of their current and fanner owners, predecessors, successors, partners, shareholders, agents
           (alleged or actual), representatives, employees and affiliates. The Trustee represents and warrants
           that: (i) the tenn "Trustee's Counsel," as defined above, includes all persons (natural or legal) and
           entities having any interest in any award of attorney's fees or litigation costs to Trustee's Counsel in
           connection with the Litigation; or (ii) that, to the extent there are other persons or entities having any
           interest in any award of attorney's fees or litigations costs in connection with the litigation, they will be
           satisfied by the Trustee's Counsel. As used in this Agreement, the phrase "BANA's' Counsel" means
           Jennifer M. Walker, Esq., BRYAN CAVE LEIGHTON PAISNER, LLP, 211 North Broadway, Suite 3600,
           St. Louis, MO 63102.

        I.   No Interpretation of Captions or Headings. The captions and headings within this Agreement are for
             ease of reference only and are not intended to create any substantive meaning or to modify the terms
             and clauses either following them or contained in any other provision of this Agreement.

        J. Severability. If any provision of the Agreement or the application thereof is held invalid by a court,
           arbitrator, or government agency of competent jurisdiction, the Parties agree that such a determination
           of invalidity shall not affect other provisions or applications of the Agreement which can be given effect
           without the invalid provisions and thus shall remain in full force and effect or application.

        K. Neutral Interpretation and Counterparts. The Parties shall be deemed to have cooperated in the
           drafting and preparation of this Agreement. Hence, any construction to be made of this Agreement
           shall not be construed against any Party. This Agreement may be executed in counterparts and each

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            executed counterpart shall be effective as the original. All faxed, emailed, or electronic signatures
            affirming this Agreement constitute an original signature.

       L. Integration I Single Agreement. This Agreement constitutes a single, integrated, written contract
          expressing the entire understanding and agreement between the Parties, and the terms of the
          Agreement are contractual and not merely recitals. There is no other agreement, written or oral,
          expressed or implied between the Parties with respect to the subject matter of this Agreement and the
          Parties declare and represent that no promise, inducement or other agreement not expressly contained
          in this Agreement has been made conferring any benefit upon them or upon which they have relied in
          any way. The terms and conditions of this Agreement may not be contradicted by evidence of any prior
          or contemporaneous agreement, and no extrinsic evidence may be introduced in any judicial
          proceeding to interpret this Agreement. This provision does not apply either to any other business
          relations between the Parties (e.g., a credit card, investment, or bank account) not related to the subject
          matter of the Agreement or to the Loan, Note, or Security Instrument at issue herein unless they have
          been otherwise invalidated or modified by the terms of this Agreement.

        M. Amendments to the Agreement. This Agreement shall not be altered, amended, or modified by oral
            representation made before or after the execution of this Agreement. All amendments or changes of
            any kind must be in writing, executed by all Parties.

        N. Negotiations. All negotiations have been conducted in English. If necessary, the Trustee has had this
           document translated by a translator of the Trustee's choice to the Trustee's satisfaction. the Trustee
           represents and warrants that the Trustee has had all terms explained to it, and that by signing below,
           the Trustee fully understand and agree to those terms.

        0. Authority. The Trustee represents and warrants that it has not sold, transferred, conveyed, assigned,
           or otherwise disposed of any right, title, or interest in any of the Released Matters herein to any person
           or entity, and that the Trustee is not aware of any other person or entity who may have or who has
           asserted or can assert a right, title, or interest in any of the Released Matters covered by this
           Agreement. The Trustee further affirms that it is fully capable of executing this Agreement and
           understand its contents, and further that they have legal counsel of its own choice or that it has had an
           opportunity to obtain such legal counsel to explain the legal effect of executing this Agreement.

        P. Advice of Counsel. Each Party to this Agreement acknowledges that it has had the benefit of advice
           of competent legal counsel or the opportunity to retain such counsel with respect to its decision to enter
           into this Agreement. The individuals whose signatures are affixed to this Agreement in a personal or
           representative capacity represent that they are competent to enter into this Agreement and are doing so
           freely and without coercion by any other Party or non-party hereto.

        Q, Successors.        This Agreement shall inure to the benefit of the respective heirs, successors, and
            assigns of the Parties, and each and every one of the Releasees shall be deemed to be intended third-
            part}' beneficiaries of this Agreement.




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        R. Attorney's Fees. Unless otherwise expressly set forth herein, each of the Parties shall bear its own
           attorney's fees, costs, and expenses in connection with the matters set forth in the Agreement.
           including, but not limited to, the Litigation and the negotiation and preparation of this Agreement.

        S. Waiver of Trial by Jury. The Parties knowingly, voluntarily, and intentionally waive any right they may
           have to a trial by jury with respect to any litigation based upon, or arising out of, under, or in connection
           with this Agreement, including any document contemplated to be executed, or any under1ying matter,
           course of dealing, statement (whether verbal or written), or action of the Parties related to this
           Agreement.



                                        SIGNATURE PAGES TO FOLLOW




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        IN WITNESS WHEREOF, the Parties hereto evidence their agreement as a sealed instrument and have
executed this Agreement as of the day and year first below written.



Date Executed:-----------


Darcy D. Williamson, Chapter 7 Trustee




BANK OF AMERICA, N.A.

Signature:_ _ _ _ _ _ _ _ __

Name: _ _ _ _ _ _ __

Title:._ _ _ _ _ _ _ __

Date:._ _ _ _ _ _ _ __




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